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            Exhibit 33
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  4:58 PM
                                                                                               LATINFOOD US CORP
  09/26/17
  Accrual Basis                                                                              Sales by Rep Summary
                                                                                      January 1, 2010 through June 26, 2017
                        Jan   -
                                  Dec    10    Jan   -
                                                         Dec    11    Jan   -
                                                                                Dec    12    Jan   -
                                                                                                       Dec    13    Jan    -
                                                                                                                                Dec    14    Jan    -
                                                                                                                                                        Dec    15    Jan   -
                                                                                                                                                                               Dec    16    Year to date 2017
      Sales   Rep   1                   0.00                   0.00                   0.00                   0.00          11,295.46                          0.00                   0.00                  0.00

      Sales   Rep   2                   0.DD                   0.00                   0.00                   0.00          62,682.00                27,236.12                        0.00                  0.00
      Sales   Rep   3                   0.00                   0.00                   0.00                   0.00                     0.00          36,635.62          154,754.67                    77,558.76
      Sales   Rep   4                   0.00                   0.00                   0.00                   0.00                     0.00                    0.00             1,316.23                    0.00
      Sales   Rep   6                   0.00                   0.00                   0.00                   0.00                     0.00               630.99                      0.00                  0.00
      Sales   Rep   6                   0.00                   0.00                   0.00                   0.00                     0.00                    0.00              120.60               24,719.02
      Sales   Rep   7                   0.00                   0.00                   0.00                   0.0D         106    953,45        203,809.08                  71,868.45                 56,251.52
      Sales   Rep   8                   0.00                   0.00                   0.00                   0.00                     0.00              6,814.45           77,920.15                       0.00

      Sales   Rep 9                     0.00                   0.00                   0.00                   0.00                     0.00          11,570.69           93,021.12                    69.766.52
  TOTAL                                 0.00                   0.00                   0.00                   0.00         180,930.91               286,696.95          399,001.22                   228,295.82




                                                                                                                                                                                                                            Page   1   of   1




                                                                                                                                                                                                                     EXHIBIT




          ATTORNEYS' EYES ONLY-SUBJECT TO DISCOVERY CONFIDENTIALITY                                                                                                                         ORDER                 LATIN000093
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 1:17    PM                                                              LATINFOOD US CORP
 03/10/16                                                           Sales by Item Summary
 Accrual Basis                                                      January through December 2015

                                                                                                  Jan      .   Dec   16
                            Qty               Amount          %   of Sales            Avg Price                           COGS            Avg COGS          Gross Margin           Gross   Margin%
        inventory
            0218             293.49999          11,884.29                    4.1%             40.49                          9,212.93            31.39             2,671.36                   22.5%
            0221             443.45833          12,873.00                    4.5%             29.03                         10.289.31            23.20             2,583.69                   20.1%
            0222             238.83333           6.744.80                    2.4%             28 24                          5,551.11            23.24             1,193.89                   17.7%
            0223                257.75           7,253.10                    2.5%             28 14                          5.939.71            23.04             1,313.39                   18.1%
            0264              93.16668           4,351.82                    1.5%             46      71                     3.497.44            37.54               854.38                   19.6%
            0255                         46      1,754.20                    0.6%             38.13                          1,166.11            25.35               588.09                   33.5%
            0266               -1.24999            -49.35                -0.0%                39.48                              -36.75          29.40                -12.60                  25.5%
            0258                     542        29,360.14                10.3%                54.17                         17,560.83            32.40            11,799.31                   40.2%
            0259             767.70632          60,617.73                21.2%                78.96                         43,435.13            56.58            17.182.60                   28.3%
            0260             433.75001          14,643.83                    5   1%           33.76                         10,956.63            25.26             3,687,20                   25.2%
            0263               811.3384         35,055.95                12 2%                43.21                         25,46T B1            31.39             9,588.04                   27.4%
            0264            1,584.16702         68,389.96                239%                 43.17                         49,727.00            31.39            18,662.96                   27.3%
            0265                   1,933        14,160.90                    4.9%                 7.33                      10,583.17                5.48          3,577      73              25.3%
            0270              13.08334           5,575.74                    1.9%            426.17                              225.41          17.23             5,350.33                   96,0%
            0271                  50.5           1,604   20                  0.6%             31.77                          1,183.42            23.43               420.78                   26.2%
            6330                    262          7,280.76                    2.5%             27.79                          5.853.25            22.34             1,427.51                   19.6%
            6331              25.08333             212   65                  0.1%                 8.48                         201.92                8.05              10.73                   5.0%
            6332              27.41667             268.15                    0.1%                 9.78                         294.73            10.75                -26.58                  -9.9%
            6333              28.33333             242.60                    0.1%                 8   56                       217.32                7.67              25.28                  10.4%
            7200                    268          4,173.70                    1.5%             15.57                            616.40             2.30             3,557.30                   85.2%
        Total   inventory      8,117.84        286,398.17              100.0%                 35.28                        201.942.98            24.88            84,455.19                   29.5%

 TOTAL                         8,117.84        286,398.17              100.0%                 35.28                                              24.88




                                                                                                                                                                                              Page    1




                   ATTORNEYS' EYES ONLY-SUBJECT TO DISCOVERY CONFIDENTIALITY                                                                ORDER             LATIN000094
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 1:19    PM                                                                LATINFOOD US CORP
03/10/16                                                              Sales by Item Summary
Accrual 13asis                                                        January through December 2014

                                                                                                  Jan   -
                                                                                                            Dec   14

                            Qty                Amount           %   of Sales          Avg Price                        COGS             Avg COGS          Gross Margin       Gross Margin   %

        inventory
           0218                -0,16667                 -7.40              -0.0%              44.40                             -5.23          31.38                 -2.17             29 3%
           0221                   125.6            4,347.20                 2.4%              34.61                       3,067.00             24.42             1.280.20              29   4%
           0254                35.50002            1.795.99                    1.0%           50.59                       1,551.74             43.71               244.25              136%
           0256                365.0833           13,667.10                    7.5%           37.44                      10,737.09             29.41             2,930.01              21 4%
           0257                15.91667              569.30                    0.3%           35.77                           449.01           28.21               120.29              21 1%
           0258               555.50168           31,512.93                17.4%              56.73                      17,019.46             30.64            14,493.47              460%
           0259               977.25003           75.452.66                41 6%              77.21                      53.957.79             55.21            21,494.87              28 5%
           0260                21.08333              786.84                 0.4%              37.32                           614.37           29.14               172.47              21 9%
           0283             1,041.33333           44,165.72                24.3%              42.41                      32,687.47             31.39            11.478.25              26 0%
           0264               135.33334            5,800.03                 3.2%              42.86                      4,248.11              31.39             1,551.92              26 8%
           6330                           92       2,700.50                    1.5%           29.35                       2,110.27             22.94               590.23              21.9%
           6331                           22         247.80                    0.1%           11.26                           177.10               8.05             70.70              28.5%
           6332                           19         246.14                    0.1%           12.95                           204.25           10.75                41.89              17.0%
           6333                           20         215.40                    0.1%           10 77                           153.40               7.67             62.00              28.8%
        Total   inventory     3,425.42           181.500.21              10D.0%               52 99                     126,971.83             37.07            54,528.38              30.0%

  TOTAL                       3,426.42          181,500.21               100.0%               52.99                                            37.07




                                                                                                                                                                                       Page      1




                  ATTORNEYS' EYES ONLY-SUBJECT TO DISCOVERY CONFIDENTIALITY                                                                ORDER             LATIN000095
